       Case 22-33553 Document 172-2 Filed in TXSB on 02/22/23 Page 1 of 3
                                          Alex Jones
                                        Profit and Loss
                                   December 2- December 31, 2022

                                                                                   Amended
                                                   Dec 2-31,                       Dec 2-31,
                                                     2022          Adjustments       2022
Income
 FreeSpeech Payroll                                     60,000                          60,000
 Interest Income                                               2                                2
 Rental Income                                           1,200                           1,200
 Sales of Product Income                               307,978                         307,978
   Cost of Goods Sold                                  (77,956)                        (77,956)
   Selling Expense (1)                                 (23,214)         (76,129)       (99,343)
 Total Sales of Product Income                         206,808          (76,129)       130,679
Total Income                                           268,010          (76,129)       191,881
Payroll deductions                                                                          -
 Child Support- Garnished                                                                   -
 Medical Insurance Premiums                              1,537                           1,537
 Payroll Taxes withheld                                 22,312                          22,312
Total Payroll deductions                                23,848                 -        23,848
Net Receipts                                           244,162          (76,129)       168,033
Expenses                                                                                    -
 Living Expenses                                                                            -
   Auto/Trucks/Watercraft                                                                   -
    Auto/Boat Maintenance                                2,437                           2,437
    Auto/Truck/Boat Insurance                           (1,346)                         (1,346)
    Boat Storage                                                                            -
    Fuel                                                 1,020                           1,020
   Total Auto/Trucks/Watercraft                          2,111                 -         2,111
   Family                                                                                   -
    Child Care                                           9,380                           9,380
    Child Support                                        2,000                           2,000
    Groceries                                              989                             989
    Homestead                                                                               -
      Maintenance                                                                           -
         Houskeeping                                     3,471                           3,471
         Misc. Supplies and Services                     2,188                           2,188
      Total Maintenance                                  5,659                 -         5,659
      Phone/Internet                                       339                             339
      Property Tax                                      54,926                          54,926
      Utilities                                            455                             455
    Total Homestead                                     61,378                 -        61,378
    Insurance                                              165                             165
    Meals & Entertainment                                3,571                           3,571
      Apple/Netflix/Hulu charges                           231                             231
    Total Meals & Entertainment                          3,802                 -         3,802
    Medical                                                                                 -
    Other                                                2,993                           2,993
    PreNup Obligation                                   14,600                          14,600
    School and Kid's Activities                                                             -
      Activities                                         5,848                           5,848
    Total School and Kid's Activities                    5,848                 -         5,848
   Total Family                                        101,154                 -       101,154
 Total Living Expenses                                 103,265                         103,265
 Other Expenses                                            687                             687
   Bank Charges & Fees                                     118                             118
   Business Expenses                                     2,817                           2,817
   Interest Paid                                                                            -
   Real Estate                                                                              -
    Austin Condos                                                                           -
      Condo HOA                                            220                             220
      Condo Insurance                                    (486)                           (486)
      Condo Property Tax                                13,995                          13,995
      Condo Utilities and Maintenance                    2,143                           2,143
    Total Austin Condos                                 15,872                 -        15,872
    Lakehouse                                                                               -
      Lakehouse Maintenance                                525                             525
      Lakehouse Utilities                                   40                              40
    Total Lakehouse                                        565                 -           565
    Ranch property                                         880                             880
    Rental Mortgage Payment                              1,649                           1,649
   Total Real Estate                                    18,965                 -        18,965
   Rental Storage Units                                  1,766                           1,766
 Total Other Expenses                                   24,354                 -        24,354
Total Expenses                                         127,619                 -       127,619
Net Operating Income                                   116,543          (76,129)        40,414
Net Income                                             116,543          (76,129)        40,414
(1) Adjustment to Selling Expenses based on
reconciliation of third party information



                                                                               Unaudited - Confidential
    Case 22-33553 Document 172-2 Filed in TXSB on 02/22/23 Page 2 of 3

                  Alex Jones
                 Balance Sheet
               As of December 31, 2022
                                                                           Amended
                                         31-Dec-22       Adjustments       31-Dec-22

ASSETS
 Current Assets
   Bank Accounts
    Bank of America #2913                        9,844                                   9,844
    Bank of America #4016                         485                                     485
    Bank of America #6078                       21,292                                  21,292
    Chase #3520                                  1,206                                   1,206
    Chase #7518                                 57,498                                  57,498
    PNC #5233 DIP                               22,465                                  22,465
    Prosperity Bank #9175                      217,722                                 217,722
    Security Bank #8548                         34,930                                  34,930
    Security Bank #8605 (1)                      3,457          -3,457                      0
   Total Bank Accounts                         368,899          -3,457                 365,442
   Accounts Receivable
    Accounts Receivable (2)                    398,887         -67,130                 331,757
   Total Accounts Receivable                   398,887         -67,130                 331,757
   Other Current Assets
    Inventory Platinum                         682,899                                 682,899
    Petty Cash for Child Care
      Bitcoin account (3)                                        3,403                   3,403
      IRS tax refund receivable (4)
    Undeposited Funds                           29,936                                  29,936
   Total Other Current Assets                  712,835           3,403                 716,237
 Total Current Assets                        1,480,621         -67,184             1,413,437
 Fixed Assets
   Austin Condo 3 (5)                          560,000        -560,000                      0
   Austin Condo 5-RCGJ LLC (5)                 500,000        -500,000                      0
   Austin Condo 6 (5)                          524,900        -524,900                      0
   Homestead (6)                             2,230,000        -597,000             1,633,000
   Lakehouse (7)                                     0       1,750,000             1,750,000
   Ranch Property (7)                                0       2,189,000             2,189,000
   Rental Property (6)                         120,000         385,000                 505,000
    Marine Assets (8)                                          114,300                 114,300
   Vehicles (9)
    Dodge Challenger                            67,795                                  67,795
    Dodge Charger                               72,629                                  72,629
    Ford Expedition                             25,749                                  25,749
   Total Vehicles                              166,173         114,300                 280,473
 Total Fixed Assets (11)                     4,101,073       2,256,400             6,357,473
TOTAL ASSETS                                 5,581,694       2,189,216             7,770,910
LIABILITIES AND EQUITY
 Liabilities
   Current Liabilities
    Accounts Payable
      Accounts Payable                          54,926                                  54,926
      Other Payables (10)                       14,600                                  14,600
    Total Accounts Payable                      69,525                 0                69,525
   Total Current Liabilities                    69,525                 0                69,525
   Long-Term Liabilities
    Rental Property Mortgage                    40,150                                  40,150
   Total Long-Term Liabilities                  40,150                 0                40,150
 Total Liabilities                             109,676                 0               109,676


                                         Unaudited - Confidential
     Case 22-33553 Document 172-2 Filed in TXSB on 02/22/23 Page 3 of 3

                  Alex Jones
                 Balance Sheet
            As of December 31, 2022
                                                                                                    Amended
                                                           31-Dec-22        Adjustments              31-Dec-22
 Equity
   Opening Balance Equity                                       5,135,757         2,261,942                    7,397,699
   Owner's Investment
     OtherDeposits/Transfers                                      171,668                                        171,668
   Total Owner's Investment                                       171,668                 0                      171,668
   Owner's Pay & Personal Expenses
     Gifts (3)                                                     48,050             3,403                         51,453
   Total Owner's Pay & Personal Expenses                           48,050             3,403                         51,453
Opening Equity
   Retained Earnings                                                                                                    0
   Net Income                                                     116,543           -76,129                         40,414
 Total Equity                                                   5,472,018         2,189,215                    7,661,234
TOTAL LIABILITIES AND EQUITY                                    5,581,694         2,189,215                    7,770,909
Notes
(1) Security bank account 8605 is in the name of PLJR, LLC, an entity not owned 100% by debtor
(2) Accounts receivable adjusted based on information provided by customer reconciliations.
(3) Debtor received gifts of bitcoin in December 2022
(4) Debtor reported a $3.97 million refund on his 2020 form 1040. 2021 and 2022 income tax returns have not been
filed to date. It is undermined how much, if any of the refund is available to the debtor until the 2021 and 2022 tax
returns are filed. Debtor did not appear to make any estimated tax payments in 2022.
(5) Condos were removed due to ownership not in debtor's name


(6) Homestead value adjusted to current market estimate and adjusted for debtor's 50% undivided interest in property
(7) Real estate assets added based on quit claim transfers on December 2, 2022 from 2022 Appeal Trust to debtor.
Value is represented at latest appraised values
(8) Marine assets added based on values obtained from JD Power as of 2/7/23.
(9) Vehicles reported at Kelly Blue Book value

(10) Debtor was subject to litigation that resulted in judgements against him for approximately $1.5 billion.
Judgements are currently on appeal and are not included in the debtors financial statement pending resolution.
(11) Debtor owns interests in several entities that are not presented in this balance sheet as values, if any are
indeterminable at this time due to insufficient information. The entities are listed on the debtor's Statement of
Financial Affairs.




                                                          Unaudited - Confidential
